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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF TEXAS
                     CORPUS CHRISTI DIVISION

__________________________________________
MARC      VEASEY,     JANE    HAMILTON,          )
SERGIO DELEON, FLOYD J. CARRIER,                 )
ANNA BURNS, MICHAEL MONTEZ,                      )
PENNY POPE, OSCAR ORTIZ, KOBY                    )
OZIAS, JOHN MELLOR-CRUMLEY, PEGGY                )
HERMAN, EVELYN BRICKNER, GORDON                  )
BENJAMIN, KEN GANDY, LEAGUE OF                   )
UNITED LATIN AMERICAN CITIZENS                   )
(LULAC), AND DALLAS COUNTY, TEXAS,               )
       Plaintiffs,                               )   CIVIL ACTION NO.
v.                                               )   2:13-CV-193 (NGR)
                                                 )   [Lead case]
RICK PERRY, Governor of Texas; and JOHN          )
STEEN, Texas Secretary of State,                 )
       Defendants.                               )
__________________________________________       )
                                                 )
UNITED STATES OF AMERICA,                        )
     Plaintiffs,                                 )
                                                 )
TEXAS LEAGUE OF YOUNG VOTERS                     )
EDUCATION FUND, IMANI CLARK, AND                 )
MICHELLE BESSIAKE,                               )
     Plaintiff-Intervenors,                      )
                                                 )
TEXAS ASSOCIATION OF              HISPANIC       )
COUNTY      JUDGES        AND      COUNTY        )
COMMISSIONERS,          AND       HIDALGO        )
COUNTY,                                          )
     Plaintiff-Intervenors,                      )
v.                                               )   CIVIL ACTION NO.
                                                 )   2:13-CV-263 (NGR)
STATE OF TEXAS, JOHN STEEN, in his               )   [Consolidated case]
official capacity as Texas Secretary of State;   )
and STEVE McCRAW, in his official capacity       )
as Director of the Texas Department of Public    )
Safety,                                          )
      Defendants.                                )
__________________________________________       )
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TEXAS STATE CONFERENCE OF NAACP                   )
BRANCHES;        and the  MEXICAN                 )
AMERICAN LEGISLATIVE CAUCUS OF                    )
THE      TEXAS       HOUSE     OF                 )
REPRESENTATIVES,                                  )
     Plaintiffs,                                  )
v.                                                )
                                                  )   CIVIL ACTION NO.
JOHN STEEN, in his official capacity as           )   2:13-CV-291 (NGR)
Secretary of State of Texas; and STEVE            )   [Consolidated case]
McCRAW, in his official capacity as Director      )
of the Texas Department of Public Safety,         )
        Defendants.                               )
__________________________________________        )
BELINDA ORTIZ, LENARD TAYLOR,                     )
EULALIO MENDEZ JR., LIONEL                        )
                                                  )
ESTRADA; ESTELA GARCIA ESPINOSA,
                                                  )
LYDIA LARA, MARGARITO MARTINEZ                    )
LARA, MAXIMINA MARTINEZ LARA, AND                 )
LA UNION DEL PUEBLO ENTERO, INC.                  )
        Plaintiffs,                               )
v.                                                )
                                                  )
                                                  )
STATE OF TEXAS, JOHN STEEN, in his
                                                  )
official capacity as Texas Secretary of State;
                                                  )   CIVIL ACTION NO.
and STEVE McCRAW, in his official capacity
                                                  )   2:13-CV-348 (NGR)
as Director of the Texas Department of Public
                                                  )   [Consolidated case]
Safety,
                                                  )
         Defendants.
                                                  )
__________________________________________


       [PROPOSED] ORDER ON DEFENDANTS’ MOTION TO COMPEL THE
                  PRODUCTION OF FEDERAL DATABASES

      Having considered Defendants’ Motion to Compel the Production of Federal Databases,

ECF No. ____, the Court finds that the Motion should be, and hereby is, GRANTED. The

United States shall promptly produce the databases and database dictionaries, in

compliance with the Federal Privacy Act, 5 U.S.C. § 552a(b)(11) and subject to the
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Court’s Consent Protective Order, ECF No. 105, in numbers 1 and 2 in Defendants’

First Request for the Production of Documents to the United States.


      Dated: ______________, 2014.


                                                   ______________________________
                                                   NELVA GONZALES RAMOS
                                                   United States District Judge
